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UNITED STATES DISTRICT COURT = 8.) }
SOUTHERN DISTRICT OF NEWYORK 70/5 UU 16 PH 456

 

STATE OF NEW YORK, et al.,
Plaintiffs,
v.

UNITED STATES DEPARTMENT OF COMMERCE, et al,

Defendants. 18-CV-2921 MF)

 

 

 

NEW YORK IMMIGRATION COALITION, et al, !

 

 

 

 

 

 

 

 

 

  

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PLAINTIFF — INTERVENOR ROBERT A. HEGHMANN’S MEMORANDUM OF LAW

IN SUPPORT OF HIS MOTION TO INTERVENE

Plaintiff Intervenor Robert A. Heghmann respectfully submits this Memorandum of Law
in support of his Motion to Intervene in this action filed by the State of New York and others
against the Department of Commerce. The Plaintiff - Intervenor moves pursuant to/Federal Rule

of Civil Procedure 24 to intervene as of right.

Statement of Facts

As set forth in the Intervenor-Plaintiff’s Motion to Intervene, the real parties in interest

here are Suburban and Rural Citizen Voters. The Democrats under President Barack Obama

 

 
 

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